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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

 JACOB SMITH,

                       Plaintiff,
 v.

 FIRSTENERGY CORP. AND
 FIRSTENERGY SERVICE CO.,

                       Defendants.


 BRIAN HUDOCK AND CAMEO
 COUNTERTOPS, INC.,
                                                    Case Nos. 2:20-cv-03755, 03954, 03987
                       Plaintiffs,
                                                    Judge Edmund A. Sargus
 v.
                                                    Magistrate Judge Kimberly A. Jolson
 FIRSTENERGY CORP., et al.,

                       Defendants.


 JAMES BULDAS,

                       Plaintiff,

 v.

 FIRSTENERGY CORP., et al.,

                       Defendants.



            NOTICE OF SUBSTITUTION OF COUNSEL OF RECORD FOR
                       DEFENDANT JAMES F. PEARSON

       Pursuant to Local Rule 83.4(c)(3), defendant James F. Pearson hereby gives notice that

he will substitute counsel of record as set forth below in place of Michael R. Gladman, Tiffany
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D. Lipscomb-Jackson, M. Ryan Harmanis, Margaret M. Dengler, and Yaakov Roth of Jones

Day.


       New counsel for Mr. Pearson will be:


               Jeremy R. Teaberry (0082870)
               Timothy D. Katsiff (pro hac vice motion forthcoming)
               David L. Axelrod (pro hac vice motion forthcoming)
               Emilia McKee Vassallo (pro hac vice motion forthcoming)
               BALLARD SPAHR LLP
               1735 Market Street, 51st Floor
               Philadelphia, PA 19103-7599
               Telephone: (215) 665-8500
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               Email: mckeevassalloe@ballardspahr.com

       Mr. Teaberry is admitted to practice in Ohio and in this District. Messrs. Katsiff and

Axelrod and Ms. McKee Vassallo will be filing motions for admission pro hac vice separately.

Messrs. Gladman, Harmanis, and Roth and Mses. Lipscomb-Jackson and Dengler will continue

to represent the other defendants on behalf of whom they have entered appearances.


       Mr. Pearson certifies below that he has consented to the withdrawal of Messrs. Gladman,

Harmanis, and Roth and Mses. Lipscomb-Jackson and Dengler and to the substitution of new

counsel. Mr. Pearson’s new counsel certify that all other counsel of record are, by virtue of

service of this motion, also so notified. A proposed order accompanies this notice.




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Dated: August 19, 2021                   /s/ Michael R. Gladman
                                         Michael R. Gladman (0059797)
                                                 Trial Attorney
                                         Tiffany D. Lipscomb-Jackson (0084382)
                                         M. Ryan Harmanis (0093642)
                                         Margaret M. Dengler (0097819)
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                                         Yaakov M. Roth (pro hac vice)
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                                         Withdrawing Attorneys for Defendant James
                                         F. Pearson

Dated: August 19, 2021                   /s/ Jeremy R. Teaberry (with permission)
                                         Jeremy R. Teaberry (0082870)
                                         Timothy D. Katsiff (pro hac vice motion
                                         forthcoming)
                                         David L. Axelrod (pro hac vice motion
                                         forthcoming)
                                         Emilia McKee Vassallo (pro hac vice motion
                                         forthcoming)
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                                         Attorneys for James F. Pearson

Dated: August 19, 2021                   /s/ James F. Pearson (with permission)
                                         James F. Pearson


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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 19, 2021, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will notify all counsel of record. The foregoing

was also served on the following:

              Jeremy R. Teaberry (0082870)
              Timothy D. Katsiff (pro hac vice motion forthcoming)
              David L. Axelrod (pro hac vice motion forthcoming)
              Emilia McKee Vassallo (pro hac vice motion forthcoming)
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              Email: mckeevassalloe@ballardspahr.com

                                                     /s/ Michael R. Gladman
                                                     Michael R. Gladman

                                                     One of the Withdrawing Attorneys for
                                                     Defendant James F. Pearson.
